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     APRIL JAMES, EUNICE SWEARINGER, STEVE BRITTON
10   AND ROUND VALLEY INDIAN TRIBES

11
                                  UNITED STATES DISTRICT COURT
12

13                          NORTHERN DISTRICT OF CALIFORNIA

14
       APRIL JAMES, EUNICE SWEARINGER,                Case No.
15     STEVE BRITTON, and ROUND VALLEY
       INDIAN TRIBES,                                 COMPLAINT FOR DECLARATORY
16                                                    AND INJUNCTIVE RELIEF AND
                                                      MONEY DAMAGES
17                  Plaintiffs,
                                                      [42 U.S.C. § 1983]
18     v.
                                                      JURY TRIAL REQUESTED
19     MATTHEW KENDALL, Sheriff of Mendocino
       County; COUNTY OF MENDOCINO;
20
       WILLIAM HONSAL, Sheriff of Humboldt
21     County; JUSTIN PRYOR, deputy of Humboldt
       County Sheriff’s Office; COUNTY OF
22     HUMBOLDT; SEAN DURYEE, Commissioner
       of the California Highway Patrol;
23     CALIFORNIA HIGHWAY PATROL; and
       DOES 1 through 50,
24

25                  Defendants.

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27

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                                                                             Case No. - Complaint
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 1          Plaintiffs April James, Eunice Swearinger, Steve Britton, and Round Valley Indian Tribes 1
 2   allege as follows:
 3                                            INTRODUCTION
 4          1.      On July 22-23, 2024, law enforcement officers raided properties in and around
 5   Covelo, California, targeting marijuana cultivation sites, regardless of the properties’ location on
 6   the Round Valley Indian Reservation (“Reservation”) or the property owners’ status as enrolled
 7   members of the Round Valley Indian Tribes. With no explanation of why they were raiding these
 8   properties, they destroyed plants, equipment, fences and other property. These law enforcement
 9   officers are part of a larger organization of law enforcement agencies, including multiple northern
10   California county sheriff’s offices, that raid marijuana cultivation operations in northern California
11   and have raided tribal trust lands on the Reservation routinely for over a decade.
12          2.      The raids terrorized the community. They also violated the law. The Fourth
13   Amendment provides “[t]he right of the people to be secure in their persons, houses, papers, and
14   effects, against unreasonable searches and seizures, shall not be violated[.]” U.S. Const. Amend.
15   IV. It is well established that a warrantless search is unreasonable under the Fourth Amendment.
16   Chong v. United States, 112 F.4th 848 (9th Cir. 2024); Payton v. New York, 445 U.S. 573, 586
17   (1980). Yet despite these unlawful tactics and their harmful impact on the Tribe’s community,
18   Sheriff Kendall flaunts the operation as a success. He has stated publicly that there are plans for the
19   same activities throughout northern California.
20          3.      Individual Plaintiffs April James, Eunice Swearinger, and Steve Britton (“Individual
21   Plaintiffs”) are members of the Round Valley Indian Tribes who own and live in properties raided
22   by the Defendants. They were subjected to warrantless searches of their homes and properties and
23   the destruction of their personal property.
24          4.      Plaintiff Round Valley Indian Tribes (“Tribe”) is a federally recognized Indian Tribe
25   with inherent sovereign authority to enact laws, establish a police force and to authorize Tribal
26   police officers to investigate violations of federal, state and tribal law within the Reservation. The
27
     1
28    The Round Valley Indian Tribes was formerly known as the Covelo Indian Community of the
     Round Valley Indian Reservation.
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 1   Tribe’s inherent authority includes enacting laws that regulate the cultivation, possession and use
 2   of cannabis on the Reservation. The Tribe licensed Individual Plaintiffs to cultivate, possess, and
 3   use cannabis on the Reservation for personal medical use, under a tribal regulatory scheme that
 4   prohibits non-medical cannabis use.
 5          5.      Public Law 280 delegated federal authority to California to prosecute crimes
 6   committed by Indians in Indian country. See 28 U.S.C. § 1360. California regulates cannabis and
 7   allows citizens to cultivate, possess and use cannabis, but those regulatory laws cannot be enforced
 8   against Indians on their reservations. See California v. Cabazon Band of Mission Indians, 480 U.S.
 9   202 (1987) (“Cabazon”). Defendants’ reliance on           Public Law 280 to justify raids on the
10   Reservation contravenes long standing recognition of tribal sovereignty and federal common law,
11   which prohibit state enforcement of regulatory laws against Indians on Indian reservations.
12   Chemehuevi Indian Tribe v. McMahon, 934 F.3d 1076 (9th Cir. 2019); Williams v. Lee, 358 U.S.
13   217 (1959).
14          6.      Individual Plaintiffs, along with the Tribe on behalf of its members (collectively,
15   “Plaintiffs”), seek declaratory and injunctive relief to prevent Mathew Kendall, Sheriff of
16   Mendocino County, Mendocino County, William Honsal, Sheriff of Humboldt County, Humboldt
17   County, Sean Duryee, Commissioner of California Highway Patrol, and California Highway Patrol
18   from conducting illegal raids on the Reservation. These actions include the illegal search, seizure,
19   and destruction of property based on the erroneous claim that California holds regulatory
20   jurisdiction over Indians in Indian country. Plaintiffs also seek to protect the civil right of Indians
21   to be free from state regulation and control while engaging in activities on their reservations
22   authorized and licensed by their tribal government.
23          7.      Individual Plaintiffs seek damages against the Defendants for violations of their
24   rights under the Fourth Amendment to the United States Constitution, the California Constitution,
25   state law and 42 U.S.C. § 1983 after Defendants’ unlawful searches, seizures and destruction of the
26   Individual Plaintiffs’ property. The Defendants’ unlawful actions also violated federal common
27   law, which prohibits the enforcement of state and local laws against Indians while on their
28   reservation absent a congressional statute that authorizes such enforcement.
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 1          8.      Defendants Sheriff Kendall and Mendocino County, acting through the Sheriff’s
 2   Office, has withheld law enforcement services on the Reservation, and in particular, intentionally
 3   ordered or caused Mendocino County Sheriff’s deputies to ignore or not respond to calls after the
 4   Tribe on July 24, 2024, issued a cease-and-desist order to Defendant Kendall to stop raiding trust
 5   lands, located on the Reservation. After that cease-and-desist order, County Sheriff’s deputies
 6   responded to calls only sporadically and often very late after receiving a call for service. In doing
 7   so, the Defendants and each of them deprived the Individual Plaintiffs and the Tribe of the equal
 8   protection of the law in direct violation of the Equal Protection Clause of the Fourteenth
 9   Amendment to the United States Constitution.
10                                    JURISDICTION AND VENUE
11          9.      This Court’s jurisdiction over the Plaintiffs’ claims is based upon the following:
12                  (a)     This Court has original jurisdiction under 28 U.S.C. § 1331 and § 1362, as
13   this action arises from violations of the Plaintiffs’ rights guaranteed under the Fourth and
14   Fourteenth Amendments to the United States Constitution, and for violations of the federal
15   common law of trespass on Indian lands, pursuant to, inter alia, 25 U.S.C. § 345 and 28 U.S.C. §
16   1353, and the comprehensive regulatory scheme promulgated by the Department of Interior
17   (“Interior”) pursuant to these federal statutes, Part 169, Title 25 of the Code of Federal
18   Regulations, and the present suit involves the possessory interests and rights of the Plaintiffs in
19   their trust allotments secured by Act of Congress, for which the United States, as title holder, has
20   enacted continuing and ongoing protections.
21                  (b)     This Court has jurisdiction under 42 U.S.C. § 1983 because the claims arise
22   from Defendants’ violations of the Plaintiffs’ rights guaranteed under the Fourth Amendment to
23   the United States Constitution and the Indian Commerce Clause, U.S. Const. art. I, § 8.
24                  (c)     This Court has supplemental jurisdiction over Plaintiffs’ state law claims
25   under 28 U.S.C. § 1367 because the Plaintiffs’ state law claims arise under a common nucleus of
26   operative facts upon which Plaintiffs’ federal law claims are based.
27                  (d)     On December 15, 2024, Plaintiffs timely filed administrative tort claims
28   with the County of Mendocino and the County of Humboldt. Both counties issued notices
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 1   rejecting Individual Plaintiffs’ claims on February 7, 2025, and March 19, 2025. Plaintiffs have
 2   exhausted all state law administrative remedies. Cal. Gov’t. Code §§ 913, 945.6(a)(1).
 3           10.     Venue is appropriate in this Court under 28 U.S.C. §§ 1391(a)(1), (a)(2), and (b)(1)
 4   because Defendants Mendocino County and Humboldt County are within the boundaries for this
 5   Court, and Sheriffs Kendall and Honsal, and Justin Pryor reside in this District, and because all of
 6   the remaining defendants, whose identities will be determined through discovery, are employed by
 7   the Sheriff’s offices in this District or reside in this District.
 8                                                   PARTIES
 9           11.     Plaintiff Round Valley Indian Tribes is a federally recognized Indian Tribe in
10   Mendocino County organized under the provisions of the Act of June 18, 1934 (48 Stat. 984),
11   commonly known as the Indian Reorganization Act (“IRA”) and codified at 25 U.S.C. § 5101.
12           12.     Individual Plaintiffs April James, Steve Britton and Eunice Swearinger are enrolled
13   members of the Tribe. Ms. James and Ms. Swearinger are the beneficial owners of and reside on
14   allotted trust lands; Mr. Britton resides on allotted trust lands owned by his granddaughter. These
15   allotted trust lands are within the boundaries of the Reservation where Defendants raided their
16   homes and properties.
17           13.     Defendant Matt Kendall is Sheriff of Mendocino County. At all relevant times, he
18   was acting under the color of state law within the course and scope of his duties as Sheriff of
19   Mendocino County, and as an agent and employee of Mendocino County. He is sued in his
20   individual and official capacities.
21           14.     Defendant Mendocino County is a political subdivision of the State of California.
22           15.     Defendant William Honsal is Sheriff of Humboldt County. At all relevant times, he
23   was acting under the color of state law within the course and scope of his duties as Sheriff of
24   Humboldt County, and as an agent and employee of Humboldt County. He is sued in his individual
25   and official capacities.
26           16.     Defendant Humboldt County is a political subdivision of the State of California.
27           17.     Defendant Sean Duryee is Commissioner of the California Highway Patrol (“CHP”).
28   At all relevant times, he was acting under the color of state law within the course and scope of his
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 1   duties as Commissioner of the CHP, and as an agent and employee of the CHP. He is sued in his
 2   individual and official capacities.
 3          18.        Defendant California Highway Patrol is a law enforcement agency of the State.
 4          19.        Defendant Justin Pryor is a deputy of the Humboldt County Sheriff’s Office. At all
 5   relevant times, he was acting under color of state law within the course and scope of his duties as a
 6   deputy of Humboldt County Sheriff’s Office, as an agent and employee of Humboldt County. He
 7   is sued in his individual and official capacities.
 8          20.        The true names and capacities of defendants DOES one through fifty are unknown
 9   to the Plaintiffs, and the Plaintiffs will seek leave of Court to amend this complaint to allege such
10   names and capacities as soon as they are ascertained.
11                                       GENERAL ALLEGATIONS
12   Round Valley Indian Tribes and the Round Valley Indian Reservation
13          21.        The Tribe is a confederation of small tribes: the Yuki, Wailacki, Concow, Little Lake
14   Pomo, Nomlacki, and Pit River. The Round Valley Indian Reservation was established by the
15   United States Indian Office in 1856 as the Nome Cult Indian Farm. The boundaries of the
16   Reservation were expanded beyond the Farm in 1858 to encompass approximately 25,000 acres.
17   By order of the President, an additional 6,000 acres were added to the Reservation on March 30,
18   1870. On March 3, 1873, Congress enacted legislation increasing the size of the Reservation to
19   approximately 102,118 acres. (Act of March 3, 1873, 17 Stat. 633). Russ v. Wilkins, 624 F.2d 914
20   (9th Cir. 1980).
21          22.        On February 8, 1887, as part of the national policy to bring an end to the reservation
22   system and to assimilate Indians into white society, Congress passed the General Allotment Act,
23   25 U.S.C. § 331-34. The Allotment Act authorized Indian agents to subdivide reservations into 60,
24   80, and 180 acre parcels and to convey those parcels to adult Indians to be owned by the United
25   States of America in trust for those individual Indians for a twenty-five year period and then upon
26   the expiration of the 25 years convey title to the land to the Indians in fee. Lands not allotted could
27   be, and were, sold to non-Indian settlers and some fee-patented lands were lost for failure to pay
28   property taxes.
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 1          23.     On October 1, 1890, Congress passed “An Act to provide for the reduction of the
 2   Round Valley Indian Reservation, in the State of California, and for other purposes” (“Act of
 3   1890”). The Act of 1890 provided that a portion of the Reservation was to be allotted in ten-acre
 4   tracts to individual Indians and that additional lands were to be held for the Indian community in
 5   common. All claims by non-Indians within these allotted portions were to be appraised and
 6   compensated. The remainder of the Reservation was to be surveyed into 640-acre tracts and put
 7   up for sale with the proceeds, after deduction of certain expenses, placed in the Treasury of the
 8   United States to the credit of the Indians. The Act of 1890 appointed a commission to carry out
 9   the actual division and allotment of the Reservation. The commission allotted 42,105.56 acres to
10   1,034 Indians in the southwest portion of the Reservation and offered the rest at public sale. 2 An
11   additional 36,692.23 acres was allotted to 619 Indians. Id.
12          24.     Only about 1,200 acres out of the 63,680 acres of the relinquished portions of the
13   Reservation opened for sale and non-Indian settlement were sold. Pursuant to the Act of February
14   8, 1905, 33 Stat. 706, the unsold portions of the 63,680 acres were opened to homestead entry and
15   settlement; the land remaining unclaimed after five years was to be sold.
16          25.     In 1934, Congress enacted the IRA to reverse the effects of the allotment policy.
17   Under the IRA, the different tribes living on the Reservation and in the Round Valley elected the
18   first Tribal Council of the Tribe after adopting the Constitution of the Round Valley Indian Tribes,
19   which was approved by the Secretary of the Interior (“Secretary”) on December 16, 1936.
20          26.     On February 11, 1947, the Secretary issued an order of restoration, pursuant to the
21   IRA, that added approximately 7,531 acres of vacant land in random parcels of 140 acres each to
22   the Reservation for tribal trust ownership. This presented the problem of “checkerboard
23   jurisdiction” denounced by the Supreme Court in Seymour v. Superintendent, 368 U.S. 351, 358
24   (1962) and Moe v. Confederated Salish & Kootenai Tribes, 425 U.S. 463, 478 (1976).
25   Checkerboard jurisdiction likely results in an inconvenient requirement that law enforcement must
26

27   2
      See General Data Concerning Indian Reservations, Commissioner of Indian Affairs (Oct. 15,
28   1929).

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 1   consult tract books to determine the land status where they believe criminal activity occurred. See
 2   Russ v. Wilkins, 624 F.2d 914, 932 (9th Cir. 1980) (Hoffman, dissent).
 3          27.     Today, the Reservation, in what is now northeastern Mendocino County, consists of
 4   a contiguous land base and discontinuous parcels of trust lands in Round Valley and includes the
 5   town of Covelo. The total area of Reservation trust lands is about 36,000 acres.
 6          28.     The Tribe is the beneficial owner of the Reservation, which includes all
 7   discontinuous tribal trust lands and trust allotments. Despite the discontinuous pattern of these tribal
 8   properties, all lands within the boundaries of the Reservation is “Indian country,” pursuant to 18
 9   U.S. § 1151.
10          29.     The Tribe adopted a revised Constitution on August 3, 1994 (“Round Valley
11   Constitution”), which was approved by the Secretary pursuant to the authority delegated to the
12   Secretary under the IRA, as amended, and delegated to the Superintendent of the Central California
13   Agency, Bureau of Indian Affairs by 230 D.M. 2.4.
14          30.     The Round Valley Constitution establishes the Tribal Council (“Tribal Council”) as
15   the Tribe’s governing body with legislative powers to enact laws, regulations, and policies through
16   ordinances, resolutions and other legislative actions on behalf of the Tribe.
17          31.     On August 8, 2006, the Tribal Council enacted and later amended the
18   Compassionate Use Ordinance, regulating medical cannabis cultivation and use by tribal citizens
19   on the Reservation. The Ordinance explicitly prohibits interpreting it to allow the imposition of
20   State civil regulatory laws on the Reservation. A true and correct copy of the Compassionate Use
21   Ordinance is attached as Exhibit A.
22   Public Law 280 and Civil Regulatory Jurisdiction
23          32.     The Indian Commerce Clause vests Congress with exclusive authority over Indian
24   commerce and affairs. U.S. Const. art. I, § 8; Haaland v. Brackeen, 143 S.Ct. 1609, 1627-28 (2023).
25   Absent express authorization from Congress, the states and their political subdivisions lack civil
26   regulatory jurisdiction over Indians or their activities on their reservations. McClanahan v. Arizona
27   Tax Comm'n, 411 U.S. 164, 171, (2023). There is no statutory authority granting the State of
28   California or any of its political subdivisions civil jurisdiction over Indians for conduct occurring
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 1   on their reservations. Cabazon, 480 U.S. at 210-11.
 2          33.     18 U.S.C. § 1151(a) defines “Indian country” as: “[A]ll land within the limits of any
 3   Indian reservation under the jurisdiction of the United States Government, notwithstanding the
 4   issuance of any patent, and, including rights-of-way running through the reservation . . . . and (c)
 5   all Indian allotments, the Indian titles to which have not been extinguished[.]” Congress defined
 6   Indian country “broadly to include formal and informal reservations, dependent Indian
 7   communities, and Indian allotments, whether restricted or held in trust by the United States.”
 8   Oklahoma Tax Comm'n v. Sac and Fox Nation, 508 U.S. 114, 123 (1993). Whether or not land is
 9   located within “Indian country” is significant because it determines which government, federal,
10   state or tribal, can enforce its laws against Indians in Indian country.
11          34.     Under Public Law 280, California has limited jurisdiction over Indian country,
12   depending on whether the state law at issue prohibits or regulates conduct. Cabazon, 480 U.S. at
13   209. If a California law generally prohibits certain conduct, California has criminal jurisdiction
14   under 18 U.S.C. § 1162 to enforce its law against individual Indians. Conversely, if a California
15   law merely regulates conduct and otherwise permits the conduct at issue, i.e. “civil/regulatory
16   laws,” California has no jurisdiction within Indian country to enforce that law. Id. For example,
17   state laws regulating the licensing and registration of vehicles within the state merely regulate the
18   otherwise permissible conduct of driving, and, therefore, are considered civil/regulatory, under
19   which the state may not assert jurisdiction over tribal members within Indian country. Chemehuevi
20   Indian Tribe, 934 F.3d at 1078
21          35.     Public Law 280 authorized California to assume criminal jurisdiction over offenses
22   committed in Indian country and granted state courts jurisdiction to hear civil cases between Indians
23   and between Indians and non-Indians arising in Indian country, but it did not grant the State the
24   authority to enforce its regulatory laws against Indians on their reservations.
25          36.     In 1996, California became the first state to legalize medical cannabis through the
26   Compassionate Use Act (Proposition 215), codified in Health and Safety Code § 11362.5. In
27   November 2016, voters approved the Adult Use of Marijuana Act (Proposition 64), codified in
28   Health and Safety Code § 11358, legalizing recreational cannabis use.
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 1           37.     California permits the cultivation, possession, and use of cannabis under Health and
 2   Safety Code §§ 11362.5 and 11358 (collectively, “H & S Code”). These provisions establish civil
 3   and regulatory requirements, not prohibitory or criminal statutes, and therefore do not apply to
 4   California Indians cultivating cannabis in Indian country.
 5   Defendants’ Unlawful Raids of Plaintiffs’ Trust Properties
 6           38.     On July 22-23, 2024, the Defendants, and each of them, through their deputies and
 7   officers, collaborated in planning, organizing and executing raids on the Plaintiffs’ properties on
 8   the Reservation in Indian country, without probable cause and without valid search warrants.
 9   Defendants knowingly and intentionally, or with reckless disregard for the truth, misstated or
10   omitted information in seeking an arrest warrant for each Plaintiff. Defendants searched, seized
11   and destroyed the Individual Plaintiffs’ property, which included tearing up land, structures,
12   hundreds of cannabis plants, part of a vegetable garden, and a fence with a tractor, and also
13   damaging an electric gate, interior doors, trim and locks of a home.
14           39.     Defendants failed to notify the Tribal Council, Tribal Police, any Tribal official, or
15   any of the Individual Plaintiffs before, during or after the illegal raids of the Plaintiffs’ properties
16   on the Reservation in Indian country.
17   April James
18           40.     One of the properties raided is an approximately 1.25-acre trust allotment owned by
19   Plaintiff April James located approximately one-quarter mile off of California State Highway 162.
20   A true and correct copy of the Title Status Report prepared by the Bureau of Indian Affairs (“BIA”)
21   listing April James as owner of the 1.25-acre trust allotment is attached as Exhibit B. Plaintiff
22   James, a 48-year-old grandmother who suffers from arthritis and a degenerative disc disorder for
23   which she has had surgery, makes her own medicinal cream with the cannabis she cultivates to ease
24   the daily pain due to her disorder. She had two structures on her trust allotment within which she
25   grew cannabis plants which the Defendants destroyed with a tractor by pushing the soil and all
26   plants and improvements into a pile of dirt and rubbish.
27           41.     Plaintiff James was shocked to hear loud knocking on the front door of her home on
28   the morning of July 22, 2024. When she opened the door with her 5-year-old grandson standing
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 1   behind her she faced a handful of deputies with their guns drawn. They said they had a search
 2   warrant but did not present it, then entered her home and searched it for about an hour after telling
 3   Ms. James, her daughter, grandson and 13-year-old autistic nephew to remain in place during the
 4   search. When asked by Ms. James what probable cause they had to raid her trust allotment, deputies
 5   responded that there were environmental violations that they were searching for such as using river
 6   water for plants. Ms. James has a well on her property. They also said that growing cannabis is
 7   illegal and that they could charge her with the sale and manufacturing of illegal drugs. Deputies
 8   also said they had the right to search her home for parole violations, but neither Ms. James nor any
 9   other member of her household has a criminal record, and they were not involved in conduct that
10   would lead law enforcement to reasonably believe they were engaged in criminal conduct.
11          42.     The raid of Plaintiff James’s trust allotment involved a disproportionate use of force
12   that caused unnecessary destruction, leaving Plaintiff James and her family, including children,
13   physically harmed and emotionally distressed. They now live in fear of deputies targeting them
14   again and returning without notice or legal justification, detaining them after holding them at
15   gunpoint, restricting their movement in and use of their home again and destroying their property.
16   Plaintiff James has furthermore suffered financial losses as a result of the Defendant’s conduct.
17   Eunice Swearinger
18          43.     On July 22, 2024, multiple sheriff’s deputies entered 86-year-old Plaintiff Eunice
19   Swearinger’s home while she was away on an errand, then stopped her from reentering her trust
20   allotment when she returned. A true and correct copy of the Title Status Report prepared by the
21   BIA listing Eunice Swearinger as an owner of about 2.285 acres of the trust allotment is attached
22   as Exhibit C. The deputies did not present a search warrant to Ms. Swearinger. They entered
23   interior rooms of the home by breaking through locked doors and damaged two doors, trim,
24   doorknobs and locks in the process. The deputies left after searching the home but failed to present
25   a search warrant to Plaintiff Swearinger. They did not take anything.
26          44.     Multiple deputies returned to Plaintiff Swearinger’s trust allotment the following
27   day in pickup trucks and, without notice and without saying a word to Ms. Swearinger, scraped her
28   cannabis plants and all related improvements on her trust allotment into a pile with a tractor. While
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 1   destroying the cannabis plants, Defendants destroyed part of Ms. Swearinger’s vegetable garden by
 2   cutting onions, watermelons and zucchinis. Several of Ms. Swearinger’s grandchildren were at the
 3   house and were scared by the massive presence of law enforcement, including the large guns they
 4   carried and held while guarding the unlawful destruction of their grandmother’s property.
 5          45.      Despite the Defendants’ destruction of her property, Ms. Swearinger was able to
 6   salvage several cannabis plants from the pile created by the Defendants. She replanted several plants
 7   and watered them. The following day, law enforcement officials returned to her trust allotment and,
 8   without notice again, pulled out the newly planted cannabis plants.
 9          46.      Plaintiff Swearinger uses cannabis ointment to treat pain caused by arthritis and
10   injuries sustained in a traffic accident leaving her disabled and unable to walk properly.
11          47.      The raid of Plaintiff Swearinger’s trust allotment involved a disproportionate use of
12   force that caused unnecessary destruction, leaving Plaintiff Swearinger and her family, including
13   children, physically harmed and emotionally distressed. They now live in fear of deputies targeting
14   them again and returning without notice or legal justification, refusing them entry to their home
15   again and destroying their property. Plaintiff Swearinger has furthermore suffered financial losses
16   as a result of the Defendant’s conduct.
17   Steve Britton
18          48.      Plaintiff Steve Britton, a rancher, was at home with his son on July 23, 2024, when
19   Sheriff’s deputies, without notice or a search warrant, raided the trust allotment where he lives with
20   his wife. The deputies ordered Plaintiff Britton and his son to leave the trust allotment while
21   deputies searched his trailer and two Conex storage containers without probable cause. After
22   searching the trust allotment, deputies destroyed cannabis plants, cultivation structures and
23   equipment, fencing and an electric gate on the property.
24          49.      The 5-acre trust allotment raided by Defendants is owned by Mr. Britton’s
25   granddaughter, Mary Mae Azbill McKenna. A true and correct copy of the Title Status Report
26   prepared by the BIA listing Steve Britton’s granddaughter, Mary Mae McKenna Azbill, as owner
27   of the 5-acre trust allotment is attached as Exhibit D.
28          50.      The raid of Plaintiff Britton’s trust allotment involved a disproportionate use of force
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 1   that caused unnecessary destruction, leaving Plaintiff Britton and his family, including children,
 2   physically harmed and emotionally distressed. They now live in fear of deputies targeting them
 3   again and returning without notice or legal justification, refusing them entry to their home again
 4   and destroying their property. Plaintiff Britton has furthermore suffered financial losses as a result
 5   of the Defendant’s conduct.
 6          51.     The search warrant presented to Plaintiff James after the Defendants unlawfully
 7   searched, seized and destroyed her property stated that the search warrant was based on an affidavit
 8   by Humboldt County Sheriff’s Office Deputy Justin Pryor stating that there was probable cause to
 9   seize Plaintiff James’ cannabis plants pursuant to Penal Code §§ 1524, 1528(a), 1536, and § 11472
10   of the H & S Code. A true and correct copy of the search warrant is attached as Exhibit E.
11   Defendant Pryor knowingly and intentionally, or with reckless disregard for the truth, misstated or
12   omitted information in seeking an arrest warrant for each Individual Plaintiff.
13          52.     There is no indication in the search warrant that the Plaintiffs’ properties are within
14   Indian country and the Tribe’s jurisdiction or that the Tribe regulates cannabis cultivation under the
15   Compassionate Use Ordinance.
16          53.     On information and belief, the Defendants relied on similar search warrants to search
17   the trust properties of Plaintiffs Swearinger and Britton and to seize and destroy the cannabis plants
18   on those trust properties.
19          54.     During the raids of the Individual Plaintiffs’ properties, Sheriff’s deputies stated to
20   one or more of the Plaintiffs that Public Law 280 did not apply to them because they were raiding
21   “heirship land” under the misunderstanding that trust allotments are not included in the definition
22   of Indian country. Nevertheless, the Individual Plaintiffs’ properties are trust lands that fall within
23   the definition of Indian country, and Public Law 280 does not authorize the Defendants’ conduct,
24   as alleged herein, on those properties and similarly situated trust lands.
25          55.     Despite being prohibited under Public Law 280 from enforcing California’s civil
26   regulatory cannabis laws against Indians on the Reservation, Defendants have demonstrated a
27   pattern and practice of unlawful and unconstitutional conduct. They have engaged in and continue
28   to engage in a pattern and practice of unlawful police actions and excessive force directed at, or
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 1   with a disproportionate impact on Indians on the Reservation.
 2          56.     The Defendants, through their acts or omissions, have engaged in a pattern or
 3   practice that resulted in a pattern or practice by Mendocino County Sheriff’s Office deputies and
 4   law enforcement officers from other Sheriff’s offices and law enforcement agencies committing
 5   illegal raids of Indian-owned properties to enforce California’s regulatory cannabis laws against
 6   Indians on the Reservation and in Indian country. For example, on July 15, 2022, Mendocino
 7   County Sheriff’s deputies served a search warrant on a tribal trust allotment owned by Tribal
 8   member Gary Cordova that resulted in the illegal search, seizure and destruction of property,
 9   including the destruction of plants, structures and other property. A true and correct copy of the
10   search warrant used for the raid on Mr. Cordova’s trust allotment on the Reservation is attached as
11   Exhibit F.
12          57.     Defendants and other law enforcement officers have confirmed in press releases that
13   they have raided tribal trust lands on the Reservation with impunity for over a decade. MendoFever
14   staff, Mendocino Cannabis Crackdown Results in 11 Tons of Product, 30k Plants, MendoFever,
15   Oct. 8, 2024; 3 MendoFever staff, Mendocino Sheriff Briefs Community on Round Valley Marijuana
16   Enforcement, MendoFever, Aug. 4, 2024; 4 MendoFever staff, California’s Cannabis Taskforce
17   Targets Covelo Grow Sites Eradicating an Estimated $45 Million of Product, MendoFever, Sep. 2,
18   2023; 5 Shafiq Najib, MSCO: Unlawful marijuana farm in Covelo abolished, multiple people
19   detained Thursday, Jul. 30, 2021. 6
20          58.     Defendant Kendall has posted on Facebook about targeting cannabis raids on the
21   Reservation over several years, focusing on the “most egregious violators” of illegal marijuana
22   grows in Round Valley, specifically targeting Indians with search warrants based on false
23
     3
24     Available at https://mendofever.com/2024/10/08/mendocino-cannabis-crackdown-results-in-11-
     tons-of-product-30k-plants/.
25   4
        Available at https://mendofever.com/2024/08/04 mendocino-sheriff-briefs-community-on-
     round-valley-marijuana-enforcement/.
26   5
       Available at https://mendofever.com/2023/09/02/californias-cannabis-taskforce-targets-covelo-
27   grow-sites-eradicating-an-estimated-45-million-of-product/.
     6
       Available at https://krcrtv.com/north-coast-news/eureka-local-news/msco-unlawful-marijuana-
28   farm-in-covelo-abolished-thursday.

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 1   information, and admitting some targeted properties included “tribal lands.” True and correct copies
 2   of several of Defendant Kendall’s Facebook posts are attached as Exhibit G.
 3          59.     Defendants’ actions caused Plaintiffs James, Swearinger and Britton emotional
 4   distress and ongoing injury, leaving them fearful for their safety and that of their families. They
 5   worry about potential gunpoint raids, destruction of their homes, gardens and yards, home
 6   invasions, forced displacement and damage to personal property and trust land. These fears persist
 7   as they continue to see helicopters over their trust properties and Sheriff’s deputies driving past
 8   their homes.
 9          60.     Defendants’ pattern of raiding trust properties on the Reservation without the Tribe’s
10   knowledge or cooperation is disproportionately harmful to the Tribe and its members.
11          61.     When the pattern and/or practice of police misconduct goes unchecked on the
12   Reservation, it undermines the community’s trust and cooperation between law enforcement
13   officers and the Tribe, Tribal police and the people they serve. This is especially true on the
14   Reservation, where there are significant law enforcement challenges.
15          62.     Unless restrained by the Court, Defendants’ pattern or practice of unlawfully raiding
16   properties and unconstitutionally searching, seizing and destroying property that disparately
17   impacts Indians will continue and create greater law enforcement challenges on the Reservation.
18          63.     On July 24, 2024, the Tribe, through the Tribe’s legal counsel, issued a cease-and-
19   desist order to Defendant Sheriff Kendall to stop the illegal raids on the Reservation. The raids
20   ended, but Defendants Kendall and Mendocino County refused to perform law enforcement
21   services on the Reservation in an exaggerated and retaliatory response to the cease-and-desist order
22   issued by the Tribe.
23          64.     The refusal by Defendant Kendall to respond to calls for emergency law
24   enforcement responses endangered lives and the community and violated Mendocino County
25   Sheriff’s Office policies and the law.
26          65.     Defendant Kendall is employed by the County of Mendocino, in the Mendocino
27   County Sheriff’s Office. Sheriff Kendall serves as the head of the Sheriff's Office and is the top
28   spokesperson for the Sheriff's Office. He is responsible for managing, supervising, and disciplining
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 1   all employees in the Sheriff's Office, including deputies.
 2          66.     Defendant Honsal is employed by the County of Humboldt, in the Humboldt County
 3   Sheriff’s Office. Sheriff Honsal serves as the head of the Sheriff's Office and is the top spokesperson
 4   for the Sheriff's Office. He is responsible for managing, supervising, and disciplining all employees
 5   in the Sheriff's Office, including deputies.
 6          67.     Defendant Duryee is employed by the State of California, in the CHP. Commissioner
 7   Duryee serves as the head of the CHP and is the top spokesperson for the CHP. He is responsible
 8   for managing, supervising, and disciplining all CHP employees, including officers.
 9          68.     Plaintiffs are informed and believe and thereupon allege that Defendant DOES 1-
10   50, and each of them, whether individual, corporate, associate or otherwise, are unknown to
11   Plaintiffs at this time, who therefore sue said Defendants by such fictitious names. Plaintiffs will
12   amend this Complaint to show their true names and capacities, together with appropriate charging
13   language, when such information has been ascertained. Plaintiffs will file DOE amendments, and/or
14   ask leave of court to amend this Complaint to assert the true names and capacities of these
15   Defendants when they have been ascertained.
16          69.     Plaintiffs are informed and believe, and upon, such information and belief allege,
17   that each Defendant designated as a DOE was and is in some manner, negligently, wrongfully, or
18   otherwise responsible and liable to Plaintiffs for the injuries and damages hereinafter alleged and
19   that Plaintiffs’ damages as herein alleged were proximately caused by their conduct.
20          70.     Plaintiffs are informed and believe, and thereupon allege, that at all times material
21   herein that the Defendants, including the Doe Defendants, each and all of them, were the agents,
22   servants and employees, or ostensible agents, servants or employees of Defendants Mendocino
23   County, Humboldt County and CHP, who control, supervise, manage and are responsible for the
24   Mendocino County Sheriff’s Office, Humboldt County Sheriff’s Office, and CHP, and Mendocino
25   County, Humboldt County and CHP are therefore directly and vicariously liable for the conduct of
26   Defendants Kendall, Honsal, Pryor and Duryee, as well as all Defendants; all of the Defendants
27   were acting within the course and scope of said agency and employment or ostensible agency and
28   employment. Thus, Defendants Mendocino County, Humboldt County and CHP are liable for the
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 1   conduct of its employees towards Plaintiffs under the doctrine of respondeat superior, as its
 2   employees’ conduct on July 23-24, 2024, and before and after the events that occurred on those
 3   days, were not isolated incidents of personal animus by the individual Defendants towards the
 4   Plaintiffs, but rather part and parcel of the manner in which the Defendant counties and CHP
 5   allowed and enabled the illegal activities as well as violations of Sheriff’s and CHP polices and
 6   rules, thus passing the foreseeability test required to find vicarious liability.
 7           71.     Plaintiffs are further informed and believe, and thereupon allege, that at all times
 8   relevant hereto, Defendants, and each of them, acted in concert and in furtherance of the interests
 9   of each other Defendant.
10           72.     At all relevant times, Defendants or their predecessors in office have acted or failed
11   to act, as alleged herein, under the color of state law.
12                                       FIRST CAUSE OF ACTION
13                                    Unlawful Assertion of Jurisdiction
                                             (Public Law 280)
14
                                           (Against all Defendants)
15
             73.     Plaintiffs incorporate by reference all foregoing paragraphs as if set forth here.
16
             74.     The only federal law that grants the Defendants, and each of them, any authority to
17
     enforce State law against the Individual Plaintiffs on the Reservation is Public Law 280. Public
18
     Law 280 however did not grant the Defendants any authority or jurisdiction to enforce the State’s
19
     civil regulatory cannabis laws, set forth in the H & S Code, against the Individual Plaintiffs on the
20
     Reservation. The Defendants’ raids, searches, seizures, and destruction of the Individual
21
     Plaintiffs’ trust allotments, as alleged herein, was therefore, illegal and in direct violation of the
22
     Fourth Amendment and Indian Commerce Clause of the United States Constitution, federal
23
     common law and Title 42 of the United States Code § 1983.
24
             75.     An actual controversy exists between the Plaintiffs and Defendants, in that the Tribe
25
     and the Individual Plaintiffs contend that Public Law 280 did not grant to California or its political
26
     subdivisions the authority to enforce its civil/regulatory laws against Indians on their Reservations
27
     and in Indian country, that the provisions of the H & S Code relied on by the Defendants to raid
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 1   Plaintiffs’ trust allotments are civil/regulatory in nature, and that, therefore, the Defendants had no
 2   jurisdiction to search, seize and destroy the Individual Plaintiffs’ properties, whereas Defendants
 3   contend that they have jurisdiction to obtain a search warrant to search and destroy Plaintiffs’
 4   personal and trust property based on a felony violation of California H & S Code § 11472 and to
 5   enforce California’s cannabis laws against the Plaintiffs while on the Reservation.
 6          76.     Unless this Court issues an order declaring that the Defendants have no authority or
 7   jurisdiction to search, seize and destroy Individual Plaintiffs’ property for alleged violations of the
 8   H & S Code by Individual Plaintiffs and other Indians on the Reservation, the Defendants will
 9   continue to raid tribal trust land and trust allotments on the Reservation, even though federal Indian
10   law clearly prohibits this intolerable and dangerous activity.
11          77.     Unless the Defendants are provisionally and permanently restrained and enjoined
12   from searching and destroying the Individual Plaintiffs’ and other Indians’ property on the
13   Reservation for violations of the H & S Code, Plaintiffs James, Swearinger and Britton will suffer
14   severe and irreparable harm for which Plaintiffs have no plain, speedy or adequate remedy at law,
15   in that the Plaintiffs will be subjected to State civil regulatory laws while on their Reservation, will
16   be subject to illegal searches, seizures and destruction of their trust property and prosecution in state
17   courts, and will be deprived of their federally protected right to be free of State regulation and
18   control while engaging in cannabis activities on the Reservation.
19          78.     As a direct and proximate result of Defendants’ actions, as alleged herein, Individual
20   Plaintiffs have suffered damages in an amount exceeding $10,000.00 for the costs incurred to
21   replace and repair their property, and Plaintiffs will continue to suffer additional damages of a
22   nature and in amounts which will be proven at trial.
23                                     SECOND CAUSE OF ACTION
24                                Infringement of the Tribe’s Sovereignty
                                (Interference with Tribal Self-Governance)
25
                                           (Against all Defendants)
26
            79.     Plaintiffs incorporate by reference all foregoing paragraphs as if set forth here.
27
            80.     The Defendants’ unlawful exercise of jurisdiction through the enforcement of H &
28
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 1   S Code provisions in Indian country impermissibly interferes with the Plaintiff Tribe’s sovereignty
 2   and its ability to enact and enforce laws regulating the cultivation of cannabis on its Reservation
 3   and to govern the Tribe by those laws.
 4          81.     Through unlawfully obtained search warrants as the predicate to search, seize and
 5   destroy Plaintiffs’ property on the Reservation, Defendants interfered with and continue to interfere
 6   with the Tribe’s ability to govern itself and its members by preventing the Tribe from determining
 7   to what extent and under what conditions, if any, tribal members will be able to cultivate, possess
 8   and use cannabis on the Reservation.
 9          82.     An actual controversy exists between the Plaintiffs and the Defendants, in that the
10   Tribe and the individual Plaintiffs contend that the Defendants’ enforcement of provisions of the H
11   & S Code against them impermissibly interferes with the ability of the Plaintiffs to govern
12   themselves on their Reservation, while the Defendants contend that their actions do not constitute
13   an impermissible interference with the Tribe’s self-governance.
14          83.     The Tribe has been irreparably injured by the Defendants’ unlawful assertion and
15   exercise of jurisdiction on the Reservation and unless the Defendants, their officers, deputies, agents
16   and employees are provisionally and permanently restrained and enjoined from enforcing the
17   provisions of the H & S Code against the Plaintiffs and other Indians on the Reservation, Plaintiffs
18   and other Indians on the Reservation will face the threat of continued raids, searches and seizures
19   of their property, thus interfering with the Tribe’s sovereignty and self-governance on the
20   Reservation, and the Individual Plaintiffs’ right to be free of state regulation and control, causing
21   severe and irreparable injury for which the Plaintiffs have no plain, speedy or adequate remedy at
22   law.
23                                     THIRD CAUSE OF ACTION
24                         Fourth Amendment – Unlawful Search and Seizure
                                        (42 U.S.C. § 1983)
25
                                          (Against all Defendants)
26
            84.     Plaintiffs incorporate by reference all foregoing paragraphs as if set forth here.
27
            85.     By willfully engaging in the conduct alleged herein, Defendants violated the Fourth
28
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 1   Amendment rights of Plaintiffs James, Swearinger and Britton by subjecting them to unlawful
 2   searches of their trust properties. At no time prior to the searches of the trust properties of Plaintiffs
 3   James, Swearinger and Britton did Defendants present a search warrant. Only Plaintiff James
 4   received a search warrant after the search was completed and her property seized and destroyed
 5   based on an affidavit by Humboldt County Sheriff’s Office Deputy Justin Pryor, who knowingly
 6   disregarded Public Law 280 and the Defendants’ complete lack of authority and jurisdiction to
 7   obtain and execute a search warrant on Plaintiff James’ Reservation property in Indian Country.
 8   Defendants had no probable cause, authority or jurisdiction to obtain and execute a search warrant
 9   or to search the properties of Plaintiffs James, Swearinger and Britton.
10           86.     Defendants also violated the Fourth Amendment Rights of Plaintiffs James,
11   Swearinger and Britton by seizing and destroying their cannabis plants, hoop structures and related
12   infrastructure used to cultivate the cannabis plants, in addition to damaging Plaintiff Swearinger’s
13   house and damaging Plaintiff Britton’s wood fence and electric gate, without probable cause,
14   authority or jurisdiction to support the seizure and destruction of their property. They relied
15   erroneously on provisions of the H & S Code and Plaintiffs owning “heirship land,” which they
16   said was not Indian country to search, seize and destroy Plaintiffs’ property.
17           87.     Defendants Kendall, Honsal and Duryee intentionally directed, approved and
18   authorized the search, seizure and destruction of Plaintiffs James, Swearinger and Britton’s property
19   and knowingly disregarded Public Law 280 and the Plaintiff Tribe’s sovereignty and right to self-
20   governance.
21           88.     Under the Tribe’s Compassionate Use Ordinance, Plaintiffs James, Swearinger and
22   Britton had the right to cultivate cannabis on their trust allotments without interference by the
23   Defendants.
24           89.     Plaintiffs James, Swearinger and Britton have suffered and will continue to suffer
25   damages in excess of $10,000 to be proven at trial for cultivating cannabis on the Reservation in
26   violation of the H & S Code.
27           90.     Individual Plaintiffs and Tribe have no plain, adequate, or complete remedy at law
28   to address the wrongs described herein. The injunctive and declaratory relief sought by Plaintiffs is
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 1   necessary to prevent continued and future irreparable injury.
 2                                   FOURTH CAUSE OF ACTION
 3                                   Unlawful Search and Seizure
                                        (Cal. Const. Art. I, § 13)
 4                    (California Tort Claims Act, Cal. Gov’t Code §§ 815.2, 820)
                                        (Against all Defendants)
 5
            91.     Plaintiffs incorporate by reference all foregoing paragraphs as if set forth here.
 6
            92.     Defendants Mendocino and Humboldt Counties, through Defendants Kendall,
 7
     Honsal and Pryor, and Defendant CHP through Defendant Duryee, inflicted personal injury on
 8
     Plaintiffs James, Swearinger and Britton by subjecting them to unreasonable searches and
 9
     seizures and destruction of their personal property and homes without a valid warrant and without
10
     probable cause in violation of applicable California State law, including but not limited to Article
11
     I, Section 13 of the California Constitution and Penal Code 1523-1542.
12
            93.     Defendants deprived Plaintiffs James, Swearinger and Britton of their property
13
     through warrantless unreasonable searches and seizures without probable cause, and deprived
14
     Plaintiff James of her freedom by subjecting her to an unreasonable detention without a warrant
15
     and without probable cause, all without the Plaintiffs’ consent.
16
            94.     Defendants’ warrantless search, seizure and destruction of Plaintiffs James,
17
     Swearinger and Britton’s property, and the detention of James, were substantial factors in causing
18
     Plaintiffs James, Swearinger and Britton severe pain, suffering, headaches, trauma, worry,
19
     anxiety, humiliation, embarrassment, and loss of liberty. As such, the Plaintiffs have suffered
20
     damages in an amount to be proven at trial.
21
                                       FIFTH CAUSE OF ACTION
22
                                                Bane Act
23                                       (Cal. Civ. Code § 52.1)
                      (California Tort Claims Act, Cal. Gov’t Code §§ 815.2, 820)
24                                      (Against all Defendants)
25          95.     Plaintiffs incorporate by reference all foregoing paragraphs as if set forth here.
26          96.     Defendants Mendocino and Humboldt Counties, through Defendants Kendall,
27   Honsal and Pryor, and Defendant CHP through Defendant Duryee, interfered with Plaintiffs James,
28   Swearinger and Britton’s exercise and enjoyment of their rights under the United States and
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 1   California Constitutions.
 2          97.     Defendants intentionally interfered with Plaintiffs’ rights under the Fourth
 3   Amendment and Article 1, Section 13 of the California Constitution to be free from warrantless
 4   searches without probable cause. Defendants used threats, intimidation and force, including
 5   multiple deputies drawing their service weapons at the front door of Plaintiff James in front of her
 6   four-year-old grandson, to effect the warrantless search and seizure of Plaintiffs’ properties.
 7   Defendants violated Plaintiffs’ rights and refused to back down when Plaintiffs informed
 8   Defendants that Defendants were raiding trust lands and that they had no jurisdiction to do so, to
 9   which Defendants insisted they had jurisdiction over the Individual Plaintiffs’ “heirship lands.”
10   Plaintiffs reasonably believed they would be arrested if they did not submit to the Defendants’
11   unlawful search and seizure.
12          98.     Defendants detained Plaintiff James while conducting their warrantless search of
13   her house and property and the seizure and destruction of her property.
14          99.     Mendocino County, Humboldt County and the CHP are vicariously liable for their
15   deputies’ and officers’ misconduct pursuant to Government Code §§ 815.2, 820.
16                                     SIXTH CAUSE OF ACTION
17                                                 Negligence
18                                           (Against all Defendants)
19          100.    Plaintiffs incorporate by reference all foregoing paragraphs as if set forth here.
20          101.    Law enforcement officers owe a duty of care to the community, including Plaintiffs,
21   to uphold the U.S. Constitution, the California Constitution, and applicable federal and state laws
22   when applying for search warrants and seizing personal property.
23          102.    Law enforcement officers owe a duty of care to assess the scope of their authority
24   and jurisdiction in enforcing California’s cannabis laws under the H & S Code against Indians
25   engaged in cannabis activities authorized and regulated by an Indian tribe on its reservation in
26   Indian country, including Plaintiffs.
27          103.    Law enforcement officers owe a duty of care to community members, including
28   Plaintiffs, to not conduct searches and seizures or detain individuals without probable cause.
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 1          104.    The conduct of Defendants as set forth herein was tortious in that Defendants
 2   breached their duties of care to Plaintiffs.
 3          105.    The negligence of Defendants Kendall, Honsal, and Duryee, as Sheriffs of
 4   Mendocino and Humboldt Counties, and Defendant Duryee of the CHP, caused Plaintiffs harm in
 5   the form of destroyed and damaged property, deprivation of liberty, the infliction of emotional
 6   distress—manifested through, in part, humiliation, embarrassment, anxiety, worry, emotional pain,
 7   suffering and trauma.
 8          106.    As a result of the conduct of the Defendants alleged herein, Plaintiffs sustained and
 9   incurred loss of property and emotional damages.
10          107.    The Counties of Mendocino and Humboldt and the CHP are vicariously liable for
11   the actions of the Defendant deputies and officers.
12                                    SEVENTH CAUSE OF ACTION
13   Violation of Fourteenth Amendment Equal Protection Rights Against Selective Enforcement
                                      (42 U.S.C. § 1983)
14
                         (Defendants Kendall, Mendocino County and Does 1-50)
15
            108.    Plaintiffs incorporate by reference all foregoing paragraphs as if set forth here.
16
            109.    The Equal Protection Clause of the Fourteenth Amendment of the U.S. Constitution
17
     requires that all people be treated equally under the law without regard for their race or ethnicity.
18
            110.    As such, the Equal Protection Clause prohibits law enforcement officers from
19
     selectively enforcing criminal laws because of their race or ethnicity.
20
            111.    Indians living on reservations are citizens and residents of California and are entitled
21
     to the rights and privileges enjoyed by all state citizens and residents. Acosta v. San Diego County,
22
     126 Cal.App.2d 455 (1954).
23
            112.    Law enforcement officers owe a duty to Indians in Indian country to enforce the
24
     State’s criminal prohibitory laws under Public Law 280.
25
            113.    Defendant Kendall, as Sheriff of Mendocino County, Mendocino County and Does
26
     1-50, intentionally or at least callously and recklessly disregarded calls for assistance to Indians on
27
     the Reservation and stopped providing law enforcement services to Indians on the Reservation
28
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 1   based on their race.
 2          114.     Defendant Kendall, Mendocino County and Does 1-50 stopped law enforcement
 3   activities on the Reservation after the Tribe’s legal counsel issued a cease-and-desist order to Sheriff
 4   Kendall on July 24, 2024, to cease illegal cannabis raids on Indians on the Reservation.
 5          115.    This deprivation caused harm to the Plaintiffs.
 6                                         PRAYER FOR RELIEF
 7          WHEREFORE, Plaintiffs seek judgment and relief against the Defendants as follows:
 8          i.      Award compensatory and punitive damages against all Defendants for the above
 9                  violations of federal and state law;
10          ii.     Award compensatory damages against Mendocino County, Humboldt County and
11                  the CHP under the California Tort Claims Act;
12          iii.    Issue declaratory and injunctive relief against the Defendants preventing them from
13                  enforcing State cannabis laws against Plaintiffs while engaging in cannabis activities
14                  on the Reservation and requiring that Defendant Kendall and Mendocino County
15                  enforce State criminal law and serve and protect Indians on the Reservation;
16          iv.     Award prejudgment interest on any award of damages to the extent permitted by
17                  law;
18          v.      Award reasonable attorneys’ fees, costs and disbursements, pursuant to 42 U.S.C. §
19                  1988, Cal. Gov’t Code § 52.1(h), Cal. Code of Civ. Proc. § 1021.5, and any other
20                  applicable law; and
21          vi.     For such other and further relief as the Court may deem just and proper.
22                                          Respectfully submitted,
23
                                            DEHNERT LAW, PC
24

25   DATED: April 29, 2025                  By:
                                                  David B. Dehnert (CA Bar No. 214243)
26
                                                  Dehnert Law, PC
27                                                475 Washington Blvd.
                                                  Marina Del Rey, CA 90292
28
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 1                            LAW OFFICE OF LESTER J. MARSTON
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 3                            By:
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 6                                  Attorneys for Plaintiffs April James, Eunice
 7                                  Swearinger, Steve Britton and Round Valley
                                    Indian Tribes
 8

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Case 1:25-cv-03736-RMI   Document 1   Filed 04/29/25   Page 39 of 85
Case 1:25-cv-03736-RMI   Document 1   Filed 04/29/25   Page 40 of 85
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                   EXHIBIT B
                          Case 1:25-cv-03736-RMI   Document 1        Filed 04/29/25   Page 42 of 85
                                         United States Department of the Interior
                                                 Bureau of Indian Affairs
                                                    Title Status Report
                              Report Certification Time and Date: 09/10/1987 08:00:00 PM
                                   Requestor: JVANDERH Date/Time: 02/28/2025 08:39:20
Land Area     Land Area Name      Tract Number           LTRO             Region          Agency            Resources
   540         ROUND VALLEY            406 A       SACRAMENTO, CA    PACIFIC REGIONAL    CENTRAL               Both
                RESERVATION                                               OFFICE       CALIFORNIA
                                                                                          AGENCY
     Original Allottee: DIXIE (HOLBOSH) DUNCAN
     See Appendix A for Land Legal Descriptions
     Title Status
     Tract 540 406 A is held by the United States of America in trust for the land owner(s) with trust
     interests and/or by the land owner(s) with restricted interests and/or fee simple interests, as
     listed in Appendix "B" attached to and incorporated in this Title Status Report.

     The title to Tract 540 406 A is current, complete, correct, and without defect. Ownership is in
     unity and interests are owned in the following title status: trust.

     The tract ownership is encumbered by the title documents which have been approved by a properly
     delegated Federal official and are required to be recorded by law, regulation, or Bureau policy as
     listed on Appendix "C" attached to and incorporated in this Title Status Report.

     See Appendix D for all other documents that are required to be recorded by law, regulation or Bureau
     policy.

     No Tract Notes or Coded Remarks for this tract.

     This report does not cover encroachments nor any other rights that might be disclosed by a physical
     inspection of the premises, nor questions of location or boundary that an accurate survey may
     disclose. This Report also does not cover encumbrances, including but not limited to irrigation
     charges, unpaid claims, not filed or recorded in this Land Titles and Records Office. This report
     does not state the current ownership of the interests owned in fee simple but states the ownership
     at the time the interest ceased to be held in trust or restricted ownership status.

     This Title Status Report is a true and correct report of the status of title to the real estate
     described herein according to the official land records recorded and maintained in this office.




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                                                       Appendix "A"
Land Area     Land Area Name      Tract Number          LTRO             Region                   Agency       Resources
   540         ROUND VALLEY           406 A        SACRAMENTO, CA   PACIFIC REGIONAL             CENTRAL          Both
                RESERVATION                                              OFFICE                CALIFORNIA
                                                                                                  AGENCY
Land Legal Descriptions
 Section   Township      Range        State           County            Meridian        Legal Description              Acres
    33      023.00N     012.00W    CALIFORNIA       MENDOCINO         Mount Diablo             S SW SE SW NW           1.250

     METES AND BOUNDS: S SW OF LOT 26
                                                                                     TOTAL TRACT ACRES:                1.250




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                              Case 1:25-cv-03736-RMI          Document 1          Filed 04/29/25   Page 44 of 85
                                                               Appendix "B"
Land Area       Land Area Name          Tract Number            LTRO             Region                      Agency          Resources
   540           ROUND VALLEY               406 A          SACRAMENTO, CA   PACIFIC REGIONAL                CENTRAL             Both
                  RESERVATION                                                    OFFICE                   CALIFORNIA
                                                                                                             AGENCY
Effective Ownership as of 10/23/2004
    --------------- OWNER ---------------         ---- DOCUMENT ----              NAME IN WHICH FRACTION TRACT AGGREGATE SHARE    AGGREGATE
              Indian /                                                                                           CONVERTED TO
    Tribe    NonIndian   Title    Interest*      Class              Type     SURNAME/FIRST NAME   AS ACQUIRED         LCD          DECIMAL
    ROUND      Indian    Trust       All        Deed-TS        SPEC AUT     JAMES                             1               1
   VALLEY                                                                   APRIL DAWN                        1               1 1.0000000000
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA

                                                                                           IN TRUST:                    1
                        * "All" means the equitable beneficial                                                          1   1.0000000000
                     interest and the legal title interest merged
                                      together.                                   IN RESTRICTED FEE:                    0
                                                                                                                        1   .0000000000

                                                                                             IN FEE:                    0
                                                                                                                        1   .0000000000

                                                                                           IN TOTAL:                    1
                                                                                                                        1   1.0000000000




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                                                               Appendix "C"
Land Area       Land Area Name           Tract Number           LTRO             Region                  Agency            Resources
   540           ROUND VALLEY                406 A         SACRAMENTO, CA   PACIFIC REGIONAL            CENTRAL               Both
                  RESERVATION                                                    OFFICE               CALIFORNIA
                                                                                                         AGENCY
Ownership of Tract 540 406 A is encumbered by the following:
      NO REALTY DOCUMENTS FOUND
Type of Encumbrance
Encumbrance             Encumbrance Holder                   Expiration   Document   Description and Explanation
SURVEY/SUPPLEMENTAL                                                        243Y09    SUPPLEMENTAL PLAT: LANCE J. BISHOP, DATED:
PLAT                                                                                 03/03/2009.




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                                                      Appendix "D"
Land Area    Land Area Name      Tract Number          LTRO             Region                  Agency    Resources
   540        ROUND VALLEY           406 A        SACRAMENTO, CA   PACIFIC REGIONAL            CENTRAL       Both
               RESERVATION                                              OFFICE               CALIFORNIA
                                                                                                AGENCY
    No Contracts to list for Appendix D

    No Encumbrances to list for Appendix D




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                          Case 1:25-cv-03736-RMI   Document 1        Filed 04/29/25   Page 48 of 85
                                         United States Department of the Interior
                                                 Bureau of Indian Affairs
                                                    Title Status Report
                              Report Certification Time and Date: 01/21/2025 03:41:43 PM
                                   Requestor: JVANDERH Date/Time: 02/25/2025 18:07:55
Land Area     Land Area Name      Tract Number           LTRO             Region          Agency            Resources
   540         ROUND VALLEY             362        SACRAMENTO, CA    PACIFIC REGIONAL    CENTRAL               Both
                RESERVATION                                               OFFICE       CALIFORNIA
                                                                                          AGENCY
     Original Allottee: MAGGIE MACHACH
     See Appendix A for Land Legal Descriptions
     Title Status
     Tract 540 362 is held by the United States of America in trust for the land owner(s) with trust
     interests and/or by the land owner(s) with restricted interests and/or fee simple interests, as
     listed in Appendix "B" attached to and incorporated in this Title Status Report.

     The title to Tract 540 362 is current, complete, correct, and without defect. Ownership is in unity
     and interests are owned in the following title status: trust.

     The tract ownership is encumbered by the title documents which have been approved by a properly
     delegated Federal official and are required to be recorded by law, regulation, or Bureau policy as
     listed on Appendix "C" attached to and incorporated in this Title Status Report.

     See Appendix D for all other documents that are required to be recorded by law, regulation or Bureau
     policy.

     No Tract Notes or Coded Remarks for this tract.

     This report does not cover encroachments nor any other rights that might be disclosed by a physical
     inspection of the premises, nor questions of location or boundary that an accurate survey may
     disclose. This Report also does not cover encumbrances, including but not limited to irrigation
     charges, unpaid claims, not filed or recorded in this Land Titles and Records Office. This report
     does not state the current ownership of the interests owned in fee simple but states the ownership
     at the time the interest ceased to be held in trust or restricted ownership status.

     This Title Status Report is a true and correct report of the status of title to the real estate
     described herein according to the official land records recorded and maintained in this office.




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                                                       Appendix "A"
Land Area     Land Area Name      Tract Number          LTRO             Region                   Agency    Resources
   540         ROUND VALLEY            362         SACRAMENTO, CA   PACIFIC REGIONAL             CENTRAL       Both
                RESERVATION                                              OFFICE                CALIFORNIA
                                                                                                  AGENCY
Land Legal Descriptions
 Section   Township      Range        State           County            Meridian        Legal Description           Acres
    32      023.00N     012.00W    CALIFORNIA       MENDOCINO         Mount Diablo                                  8.000

     METES AND BOUNDS: LOT 34, EXCEPT THE   NORTH 1/2 OF THE EAST 1/5 OF LOT 34, AND EXCEPT THE NORTH 1/2
     OF THE WEST 1/5 OF LOT 34
                                                                                     TOTAL TRACT ACRES:             8.000




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                                                             Appendix "B"
Land Area       Land Area Name         Tract Number           LTRO             Region                  Agency         Resources
   540           ROUND VALLEY               362          SACRAMENTO, CA   PACIFIC REGIONAL            CENTRAL            Both
                  RESERVATION                                                  OFFICE               CALIFORNIA
                                                                                                       AGENCY
Effective Ownership as of 01/08/2025
    --------------- OWNER ---------------      ---- DOCUMENT ----           NAME IN WHICH FRACTION TRACT AGGREGATE SHARE   AGGREGATE
              Indian /                                                                                     CONVERTED TO
    Tribe    NonIndian   Title    Interest*    Class         Type      SURNAME/FIRST NAME   AS ACQUIRED         LCD         DECIMAL
    ROUND      Indian    Trust       All      Deed-TS      ACT 1934   SWEARINGER                        1
   VALLEY                                                             EUNICE                            7
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA
                        Trust        All      Prob Ord       INTE     SWEARINGER                         1
                                                                      EUNICE                            56
                        Trust        All      Prob Ord      TESTATE   SWEARINGER                         1            16
                                                                      EUNICE MARY                        8            56 .2857142858
    ROUND    Indian     Trust        All      Prob Ord       INTE     PETE                               1
   VALLEY                                                             LEWIS WAYNE                       56
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA
                        Trust        All      Prob Ord      TESTATE   PETE                               1             8
                                                                      LEWIS                              8            56 .1428571428
    ROUND    Indian     Trust        All      Deed-TS      ACT 1983   PETE                               1
   VALLEY                                                             GARY EDWARD                        7
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA
                        Trust        All      Prob Ord       INTE     PETE                               1
                                                                      GARY EDWARD                       56
                        Trust        All      Prob Ord      TESTATE   PETE                               1            16
                                                                      GARY                               8            56 .2857142858


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                                Case 1:25-cv-03736-RMI    Document 1        Filed 04/29/25   Page 51 of 85
                                                             Appendix "B"
Land Area       Land Area Name         Tract Number           LTRO             Region                  Agency         Resources
   540           ROUND VALLEY               362          SACRAMENTO, CA   PACIFIC REGIONAL            CENTRAL            Both
                  RESERVATION                                                  OFFICE               CALIFORNIA
                                                                                                       AGENCY
Effective Ownership as of 01/08/2025
    --------------- OWNER ---------------      ---- DOCUMENT ----           NAME IN WHICH FRACTION TRACT AGGREGATE SHARE   AGGREGATE
              Indian /                                                                                     CONVERTED TO
    Tribe    NonIndian   Title    Interest*    Class         Type      SURNAME/FIRST NAME   AS ACQUIRED         LCD         DECIMAL
    ROUND      Indian    Trust       All      Prob Ord       INTE     LAIWA                             1
   VALLEY                                                             VELMA ELIZABETH                  56
   INDIAN                                                                   DECEASED
  TRIBES,                                                             09/15/2019
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA
                        Trust        All      Prob Ord      TESTATE   LAIWA                              1             8
                                                                      VELMA                              8            56 .1428571428
                                                                           DECEASED
                                                                      09/15/2019
    ROUND    Indian     Trust       Title     Prob Ord       INTE     SWEARINGER                         1             1
   VALLEY                                                             DEBORA L                          56            56 .0178571428
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA
    ROUND    Indian     Trust       Title     Prob Ord       INTE     BURROWS                            1             1
   VALLEY                                                             TINA MAE                          56            56 .0178571429
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA
    ROUND    Indian     Trust       Title     Prob Ord       INTE     HOAGLIN                            1             1
   VALLEY                                                             FRANCES YOLANDA                   56            56 .0178571429
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA

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                                Case 1:25-cv-03736-RMI    Document 1        Filed 04/29/25   Page 52 of 85
                                                             Appendix "B"
Land Area       Land Area Name         Tract Number           LTRO             Region                  Agency          Resources
   540           ROUND VALLEY               362          SACRAMENTO, CA   PACIFIC REGIONAL            CENTRAL             Both
                  RESERVATION                                                  OFFICE               CALIFORNIA
                                                                                                       AGENCY
Effective Ownership as of 01/08/2025
    --------------- OWNER ---------------      ---- DOCUMENT ----           NAME IN WHICH FRACTION TRACT AGGREGATE SHARE    AGGREGATE
              Indian /                                                                                     CONVERTED TO
    Tribe    NonIndian   Title    Interest*    Class         Type      SURNAME/FIRST NAME   AS ACQUIRED         LCD          DECIMAL
    ROUND      Indian    Trust      Title     Prob Ord       INTE     JOAQUIN                           1                1
   VALLEY                                                             SYLVESTER CHARLES                56               56 .0178571428
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA
    ROUND    Indian     Trust       Title     Prob Ord       INTE     FREASE                             1              1
   VALLEY                                                             ANNA M                            56             56 .0178571429
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA
    ROUND    Indian     Trust       Title     Prob Ord       INTE     JOAQUIN                            1              1
   VALLEY                                                             DAVID LEE                         56             56 .0178571428
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA
    ROUND    Indian     Trust       Title     Prob Ord       INTE     JOAQUIN                            1              1
   VALLEY                                                             WENDY                             56             56 .0178571429
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA




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                              Case 1:25-cv-03736-RMI          Document 1          Filed 04/29/25   Page 53 of 85
                                                               Appendix "B"
Land Area       Land Area Name          Tract Number            LTRO             Region                      Agency           Resources
   540           ROUND VALLEY                362           SACRAMENTO, CA   PACIFIC REGIONAL                CENTRAL              Both
                  RESERVATION                                                    OFFICE                   CALIFORNIA
                                                                                                             AGENCY
Effective Ownership as of 01/08/2025
    --------------- OWNER ---------------         ---- DOCUMENT ----              NAME IN WHICH FRACTION TRACT AGGREGATE SHARE    AGGREGATE
              Indian /                                                                                           CONVERTED TO
    Tribe    NonIndian   Title    Interest*      Class              Type     SURNAME/FIRST NAME   AS ACQUIRED         LCD          DECIMAL
    ROUND      Indian    Trust      Title       Prob Ord            INTE    JOAQUIN                           1                1
   VALLEY                                                                   ANGIE L                          56               56 .0178571428
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA

                                                                                           IN TRUST:                    56
                        * "All" means the equitable beneficial                                                          56   1.0000000000
                     interest and the legal title interest merged
                                      together.                                   IN RESTRICTED FEE:                     0
                                                                                                                        56   .0000000000

                                                                                             IN FEE:                     0
                                                                                                                        56   .0000000000

                                                                                           IN TOTAL:                    56
                                                                                                                        56   1.0000000000
 * SPECIAL INTEREST HOLDERS *
Effective Ownership as of 01/08/2025
    --------------- OWNER ---------------       ---- DOCUMENT ----                NAME IN WHICH FRACTION TRACT AGGREGATE SHARE    AGGREGATE
              Indian /                                                                                           CONVERTED TO
    Tribe    NonIndian   Title    Interest*     Class         Type           SURNAME/FIRST NAME   AS ACQUIRED         LCD          DECIMAL
  HOPLAND      Indian    Trust   Beneficial Probate Order     INTE          JOAQUIN, SR                       1                8
  BAND OF                                                                   SYLVESTER M                       7               56 .1428571428
     POMO
   INDIAN
CALIFORNIA




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                                  Case 1:25-cv-03736-RMI    Document 1        Filed 04/29/25   Page 54 of 85
                                                               Appendix "C"
Land Area       Land Area Name           Tract Number           LTRO             Region                  Agency            Resources
   540           ROUND VALLEY                 362          SACRAMENTO, CA   PACIFIC REGIONAL            CENTRAL               Both
                  RESERVATION                                                    OFFICE               CALIFORNIA
                                                                                                         AGENCY
Ownership of Tract 540 362 is encumbered by the following:
      NO REALTY DOCUMENTS FOUND
Type of Encumbrance
Encumbrance             Encumbrance Holder                   Expiration    Document Description and Explanation
OTHER SPECIAL           PETE LINDA JOLENE                                 4200473820 ILCA: THE SECRETARY SHALL NOT APPROVE AN APPLICATION
AUTHORITY                                                                            TO TERMINATE TRUST STATUS FOR A PERIOD OF 5 YEARS
                                                                                     AFTER THE APPROVAL OF THIS CONVEYANCE (25 U.S.C,
                                                                                     2216). ON THE INTEREST WHICH IS BEING CONVEYED
                                                                                     HEREIN.




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                         Case 1:25-cv-03736-RMI    Document 1        Filed 04/29/25   Page 55 of 85
                                                      Appendix "D"
Land Area    Land Area Name      Tract Number          LTRO             Region                  Agency    Resources
   540        ROUND VALLEY            362         SACRAMENTO, CA   PACIFIC REGIONAL            CENTRAL       Both
               RESERVATION                                              OFFICE               CALIFORNIA
                                                                                                AGENCY
    No Contracts to list for Appendix D

    No Encumbrances to list for Appendix D




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                    EXHIBIT D
                          Case 1:25-cv-03736-RMI   Document 1        Filed 04/29/25   Page 57 of 85
                                         United States Department of the Interior
                                                 Bureau of Indian Affairs
                                                    Title Status Report
                              Report Certification Time and Date: 11/27/2017 01:51:31 PM
                                   Requestor: JVANDERH Date/Time: 02/27/2025 09:58:34
Land Area     Land Area Name      Tract Number           LTRO             Region          Agency            Resources
   540         ROUND VALLEY             601        SACRAMENTO, CA    PACIFIC REGIONAL    CENTRAL               Both
                RESERVATION                                               OFFICE       CALIFORNIA
                                                                                          AGENCY
     Original Allottee: JULIA WOOD
     See Appendix A for Land Legal Descriptions
     Title Status
     Tract 540 601 is held by the United States of America in trust for the land owner(s) with trust
     interests and/or by the land owner(s) with restricted interests and/or fee simple interests, as
     listed in Appendix "B" attached to and incorporated in this Title Status Report.

     The title to Tract 540 601 is current, complete, correct, and without defect. Ownership is in unity
     and interests are owned in the following title status: trust.

     The tract ownership is encumbered by the title documents which have been approved by a properly
     delegated Federal official and are required to be recorded by law, regulation, or Bureau policy as
     listed on Appendix "C" attached to and incorporated in this Title Status Report.

     See Appendix D for all other documents that are required to be recorded by law, regulation or Bureau
     policy.

     No Tract Notes or Coded Remarks for this tract.

     This report does not cover encroachments nor any other rights that might be disclosed by a physical
     inspection of the premises, nor questions of location or boundary that an accurate survey may
     disclose. This Report also does not cover encumbrances, including but not limited to irrigation
     charges, unpaid claims, not filed or recorded in this Land Titles and Records Office. This report
     does not state the current ownership of the interests owned in fee simple but states the ownership
     at the time the interest ceased to be held in trust or restricted ownership status.

     This Title Status Report is a true and correct report of the status of title to the real estate
     described herein according to the official land records recorded and maintained in this office.




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                          Case 1:25-cv-03736-RMI    Document 1        Filed 04/29/25   Page 58 of 85
                                                       Appendix "A"
Land Area     Land Area Name      Tract Number          LTRO             Region                   Agency       Resources
   540         ROUND VALLEY            601         SACRAMENTO, CA   PACIFIC REGIONAL             CENTRAL          Both
                RESERVATION                                              OFFICE                CALIFORNIA
                                                                                                  AGENCY
Land Legal Descriptions
 Section   Township      Range        State           County            Meridian        Legal Description              Acres
    32      023.00N     012.00W    CALIFORNIA       MENDOCINO         Mount Diablo                N SE SW SE           5.000

     METES AND BOUNDS: THE NORTH 1/2 OF LOT 62
                                                                                     TOTAL TRACT ACRES:                5.000




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                              Case 1:25-cv-03736-RMI          Document 1          Filed 04/29/25   Page 59 of 85
                                                               Appendix "B"
Land Area       Land Area Name          Tract Number            LTRO             Region                      Agency          Resources
   540           ROUND VALLEY                601           SACRAMENTO, CA   PACIFIC REGIONAL                CENTRAL             Both
                  RESERVATION                                                    OFFICE                   CALIFORNIA
                                                                                                             AGENCY
Effective Ownership as of 10/31/2017
    --------------- OWNER ---------------         ---- DOCUMENT ----              NAME IN WHICH FRACTION TRACT AGGREGATE SHARE    AGGREGATE
              Indian /                                                                                           CONVERTED TO
    Tribe    NonIndian   Title    Interest*      Class              Type     SURNAME/FIRST NAME   AS ACQUIRED         LCD          DECIMAL
    ROUND      Indian    Trust       All        Deed-TS        ACT 1983     AZBILL                            1               1
   VALLEY                                                                   MCKENNA MARY-MAE                  1               1 1.0000000000
   INDIAN
  TRIBES,
    ROUND
   VALLEY
RESERVATIO
      N,
CALIFORNIA

                                                                                           IN TRUST:                    1
                        * "All" means the equitable beneficial                                                          1   1.0000000000
                     interest and the legal title interest merged
                                      together.                                   IN RESTRICTED FEE:                    0
                                                                                                                        1   .0000000000

                                                                                             IN FEE:                    0
                                                                                                                        1   .0000000000

                                                                                           IN TOTAL:                    1
                                                                                                                        1   1.0000000000




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                                  Case 1:25-cv-03736-RMI    Document 1        Filed 04/29/25   Page 60 of 85
                                                               Appendix "C"
Land Area       Land Area Name           Tract Number           LTRO             Region                  Agency    Resources
   540           ROUND VALLEY                 601          SACRAMENTO, CA   PACIFIC REGIONAL            CENTRAL       Both
                  RESERVATION                                                    OFFICE               CALIFORNIA
                                                                                                         AGENCY
Ownership of Tract 540 601 is encumbered by the following:
      NO REALTY DOCUMENTS FOUND
      NO REALTY DEFECTS FOUND
      NO TITLE DEFECTS FOUND
      NO ENCUMBRANCES FOUND




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                         Case 1:25-cv-03736-RMI    Document 1        Filed 04/29/25   Page 61 of 85
                                                      Appendix "D"
Land Area    Land Area Name      Tract Number          LTRO             Region                  Agency    Resources
   540        ROUND VALLEY            601         SACRAMENTO, CA   PACIFIC REGIONAL            CENTRAL       Both
               RESERVATION                                              OFFICE               CALIFORNIA
                                                                                                AGENCY
    No Contracts to list for Appendix D

    No Encumbrances to list for Appendix D




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                    EXHIBIT E
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                    EXHIBIT F
 Case
Case   3:23-cv-03830 Document
     1:25-cv-03736-RMI        1-1 1Filed
                        Document          07/31/23
                                       Filed        PagePage
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                        Document          07/31/23
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 Case
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                        Document          07/31/23
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 Case
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                        Document          07/31/23
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 Case
Case   3:23-cv-03830 Document
     1:25-cv-03736-RMI        1-1 1Filed
                        Document          07/31/23
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                                                             69147
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 Case
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                        Document          07/31/23
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                                                             70147
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                        Document          07/31/23
                                       Filed        PagePage
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                                                                of 85
 Case
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     1:25-cv-03736-RMI        1-1 1Filed
                        Document          07/31/23
                                       Filed        PagePage
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                                                                of 85
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